Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 1 of 21 PageID: 465



                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY




     RAHUL SHAH, MD,                       1:17-cv-00711-NLH-AMD
     ON ASSIGNMENT OF SHEILA H.,
                                           OPINION
                    Plaintiff,

          v.

     BLUE CROSS BLUE SHIELD OF
     MICHIGAN,

                    Defendant.



 APPEARANCES:

 SAMUEL S. SALTMAN
 CALLAGY LAW PC
 MACK-CALI CENTRE II
 SUITE 558
 650 FROM ROAD
 PARAMUS, NJ 07652
      On behalf of Plaintiff

 MICHAEL E. HOLZAPFEL
 BECKER LLC
 354 EISENHOWER PARKWAY
 SUITE 1500
 LIVINGSTON, NJ 07039
      On behalf of Defendant

 HILLMAN, District Judge

      This case is similar to numerous other cases filed by this

 plaintiff and related plaintiffs in this District 1 asserting


 1 For two examples, see Shah v. Blue Cross Blue Shield of New
 Jersey, 1:17-cv-00632-NLH-AMD and Shah v. Blue Cross Blue Shield
 of New Jersey, 1:17-cv-8590-RMB-KMW.
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 2 of 21 PageID: 466



 claims by an out-of-network physician, as a purported assignee

 of his patient’s rights, against a benefits plan for violations

 of the Employee Retirement Income Security Act of 1974

 (“ERISA”), 29 U.S.C. § 1001 et seq.        Plaintiff claims the

 benefits plan paid him $7,106.44 for what he valued to be a

 $238,310.00 elective spinal surgery.

      Defendant has moved for summary judgment in its favor on

 all of Plaintiff’s claims, arguing that the patient’s purported

 assignment of her rights to Plaintiff is invalid, and even if it

 is valid, Defendant is entitled to judgment in its favor that it

 did not act arbitrarily and capriciously when it reimbursed

 Plaintiff according to its plan terms governing payments to out-

 of-network providers.     For the reasons expressed below,

 Defendant’s motion will be granted.

                                 BACKGROUND

      On February 3, 2016, Plaintiff, Rahul Shah, M.D., who

 practices in New Jersey, performed a non-emergency, elective,

 outpatient spinal surgery on his patient, Sheila H., who resides

 in Pennsylvania.     The patient had health coverage through a

 self-insured group health benefits plan sponsored and funded by

 Kellogg Company (the “Plan”), which the Kellogg Company made

 available to its active, regular, full-time employee members,

 and their dependents, of the Bakery, Confectionary, Tobacco

 Workers’ and Grain Millers Local 6 Union in Pennsylvania.           As of

                                      2
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 3 of 21 PageID: 467



 January 1, 2016, the Kellogg Company retained Defendant Blue

 Cross Blue Shield of Michigan (“BCBSM”) to provide claims

 administration services for the Plan.        As an “employee welfare

 benefit plan,” the Plan is governed by and subject to ERISA.

        At the time of the surgery, Plaintiff was an out-of-

 network, nonparticipating provider under the Plan.          The patient

 purportedly assigned her rights to benefits under the Plan to

 Plaintiff, who then filed for reimbursement for the surgery from

 Defendant.    Plaintiff submitted a claim for $238,310.00, and the

 Plan paid Plaintiff $7,106.44.       Plaintiff followed the Plan’s

 appeal process, with the Plan ultimately concluding that the

 reimbursement amount was properly calculated at the rate

 prescribed by the Plan.

        Plaintiff argues that he charged usual, customary, and

 reasonable (“UCR”) rates and that a common sense interpretation

 of the Plan dictates that it reimburse out-of-network providers

 at 70% of the provider’s UCR charges.        Plaintiff contends that

 the Plan violated ERISA by not reimbursing him 70% of his UCR

 rates, and instead improperly paid him only 70% of 150% of the

 Medicare reimbursement rate, a rate not listed anywhere in the

 Plan.    Plaintiff claims that Defendant violated ERISA §

 502(a)(1)(B) 2 and demands additional benefits owed to him, and


 2   29 U.S.C. § 1132(a)(1)(B).


                                      3
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 4 of 21 PageID: 468



 also alleges a breach of fiduciary duty in violation of ERISA §

 404. 3    Plaintiff seeks $231,203.56 in unpaid benefits, plus

 interest, attorney’s fees, and costs.

          Defendant has moved for summary judgment in its favor.

 Plaintiff has opposed Defendant’s motion.

                                   DISCUSSION

          A.      Subject matter jurisdiction

          Defendant removed this action to this Court from the

 Superior Court of New Jersey, Law Division, Cumberland County

 pursuant to 28 U.S.C. §§ 1331, 1441(a) & (c), and 28 U.S.C. §

 1446.         Federal question jurisdiction exists in this matter

 pursuant to 28 U.S.C. § 1331, which provides that the district

 court has original jurisdiction of “all civil actions arising

 under the Constitution, laws or treaties of the United States.”

 ERISA further provides that the district courts of the United

 States shall have at least concurrent, and sometimes exclusive,

 jurisdiction over the ERISA causes of action pleaded in the

 complaint. 29 U.S.C. § 1132(e)(1).

          B.      Standard for Summary Judgment

          Summary judgment is appropriate where the Court is


 3 29 U.S.C. § 1104. Plaintiff’s complaint also asserted a count
 for breach of contract under state law and a count for violation
 of 29 C.F.R. § 2560.503-1, an ERISA timing and disclosure
 regulation governing the claims adjudication and appeals
 process. Plaintiff has agreed to dismiss those claims. (See
 Docket No. 19 at 16-17.)
                                        4
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 5 of 21 PageID: 469



 satisfied that the materials in the record, including

 depositions, documents, electronically stored information,

 affidavits or declarations, stipulations, admissions, or

 interrogatory answers, demonstrate that there is no genuine

 issue as to any material fact and that the moving party is

 entitled to a judgment as a matter of law.         Celotex Corp. v.

 Catrett, 477 U.S. 317, 330 (1986); Fed. R. Civ. P. 56(a).

      An issue is “genuine” if it is supported by evidence such

 that a reasonable jury could return a verdict in the nonmoving

 party’s favor.    Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

 248 (1986).    A fact is “material” if, under the governing

 substantive law, a dispute about the fact might affect the

 outcome of the suit.     Id.   In considering a motion for summary

 judgment, a district court may not make credibility

 determinations or engage in any weighing of the evidence;

 instead, the non-moving party's evidence “is to be believed and

 all justifiable inferences are to be drawn in his favor.”

 Marino v. Industrial Crating Co., 358 F.3d 241, 247 (3d Cir.

 2004)(quoting Anderson, 477 U.S. at 255).

      Initially, the moving party has the burden of demonstrating

 the absence of a genuine issue of material fact.          Celotex Corp.

 v. Catrett, 477 U.S. 317, 323 (1986).        Once the moving party has

 met this burden, the nonmoving party must identify, by

 affidavits or otherwise, specific facts showing that there is a

                                      5
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 6 of 21 PageID: 470



 genuine issue for trial.      Id.   Thus, to withstand a properly

 supported motion for summary judgment, the nonmoving party must

 identify specific facts and affirmative evidence that contradict

 those offered by the moving party.        Anderson, 477 U.S. at 256-

 57.   A party opposing summary judgment must do more than just

 rest upon mere allegations, general denials, or vague

 statements.     Saldana v. Kmart Corp., 260 F.3d 228, 232 (3d Cir.

 2001).

       C.   Analysis

            1.     Whether Plaintiff has standing to bring his
                   claims

       Defendant argues that the Plan participant’s assignment of

 benefits to Plaintiff is invalid, and Plaintiff therefore lacks

 standing to bring his claims. 4      Plaintiff disagrees, arguing that

 the assignment is unambiguous and clearly assigns to him the

 participant’s right to benefits under the Plan, as well as the

 ability to bring suit against the Plan.

       “[A] federal court generally may not rule on the merits of

 a case without first determining that it has jurisdiction over

 the category of claim in suit (subject-matter jurisdiction) and


 4 A facial challenge to ERISA standing may be brought pursuant to
 Fed. R. Civ. P. 12(b)(1), and that challenge, if not successful
 at the motion to dismiss stage, may be renewed at summary
 judgment as a factual challenge. Sleep and Wellness Medical
 Associates, LLC v. Horizon Healthcare Services, Inc., 2015 WL
 8464796, at *1 n.1 (D.N.J. 2015). Defendant raises the standing
 issue for the first time through its summary judgment motion.
                                      6
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 7 of 21 PageID: 471



 the parties (personal jurisdiction).” 5       Sinochem Int’l Co. v.

 Malay. Int’l Shipping Corp., 549 U.S. 422, 430-31 (2007).

 “‘Without jurisdiction the court cannot proceed at all in any

 cause’; it may not assume jurisdiction for the purpose of

 deciding the merits of the case.”        Id. at 431 (quoting Steel Co.

 v. Citizens for Better Env’t, 523 U.S. 83, 94 (1998)).           The

 standing requirement is no different for an action brought under

 ERISA.   See Leuthner v. Blue Cross & Blue Shield of Ne. Pa., 454

 F.3d 120, 125 (3d Cir. 2006) (providing that a plaintiff must

 have constitutional, prudential, and statutory standing to bring

 a civil action under ERISA).

      ERISA confers standing upon a participant in, or

 beneficiary of, an ERISA plan by allowing that participant or

 beneficiary to bring a civil action to “recover benefits due to

 him under the terms of his plan, to enforce his rights under the

 terms of the plan, or to clarify his rights to future benefits

 under the terms of the plan.”       29 U.S.C. § 1132(a)(1)(B).      This

 provision also confers standing upon a medical provider to sue

 the plan through an assignment from a plan participant.

 American Chiropractic Ass'n v. American Specialty Health Inc.,

 625 F. App’x 169, 174–75 (3d Cir. 2015) (quoting CardioNet, Inc.




 5 The parties do not raise any concerns over personal
 jurisdiction.
                                      7
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 8 of 21 PageID: 472



 v. CIGNA Health Corp., 751 F.3d 165, 176 n.10 (3d Cir. 2014)). 6

      An assignment of the right to payment assigns the right to

 enforce that right by bringing suit under ERISA to collect money

 owed.   Id. (citing N. Jersey Brain & Spine Ctr. v. Aetna, Inc.,

 801 F.3d 369 (3d Cir. 2015)).       Such an assignment “serves the

 interest of patients by increasing their access to care” and

 reduces the likelihood of medical providers “billing the

 beneficiary directly and upsetting his finances.”          Id. (quoting

 CardioNet, 751 F.3d at 179 (quotation marks omitted)).           The

 right to enforce also recognizes that most providers, as

 compared to patients, “are better situated and financed to

 pursue an action for benefits owed for their services.”           Id.




 6 Plaintiff’s allegations must also be sufficient to confer
 Article III standing. See American Chiropractic Ass'n v.
 American Specialty Health Inc., 625 F. App’x 169, 175 n.11 (3d
 Cir. 2015) (citations omitted) (noting that because the
 plaintiff alleges that he sustained an injury in fact by
 defendant’s failure to fully pay for the services he rendered
 that he contends were covered by the Plan, the plaintiff also
 had Article III standing to pursue this relief) (citing Spinedex
 Physical Therapy USA Inc. v. United Healthcare of Ariz., Inc.,
 770 F.3d 1282, 1287–91 (9th Cir. 2014) (holding that medical
 provider had Article III standing under form assigning its
 patients' “rights and benefits” even though medical provider
 “ha[d] not sought payment from its assigning patients for any
 shortfall” prior to bringing suit); N. Cypress Med. Ctr.
 Operating Co., Ltd. v. Cigna Healthcare, 781 F.3d 182, 193–94
 (5th Cir. 2015) (following Spinedex and noting that “[t]he fact
 that the patient assigned her rights elsewhere does not cause
 them to disappear” so as to deprive provider-assignee Article
 III standing). Plaintiff has sufficiently articulated an
 injury-in-fact by contending that the Plan failed to properly
 reimburse him under the terms of the Plan.
                                      8
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 9 of 21 PageID: 473



 (citation omitted).

      In this case, on January 20, 2016, the Plan participant

 signed a one-page “Assignment of Benefits & LTD. Power of

 Attorney & Medical Records Authorization,” which lists at the

 top “Premier Orthopaedic Associates of Southern New Jersey,” and

 three providers’ names: “Thomas A Dwyer, M.D., Rahul V. Shah,

 M.D., Christian Brenner, PA-C.”          (Docket No. 1 at 27.)   The

 assignment provides, in part, “I irrevocably assign to you, my

 medical provider, all of my rights and benefits under my

 insurance contract for payment for services tendered to me,

 including but limited to my rights under ‘ERISA’ applicable to

 the medical services at issue.       I specifically assign to you all

 of my rights and claims with regard to the employee health

 benefits at issue (including claims for the assessment of

 penalties and for attorneys' fees) arising under ERISA or other

 federal or state law.”      (Id.)

      Defendant argues that the assignment is inherently

 ambiguous because the document generically references “my

 medical provider” (singular use) as an assignee, but denotes

 four potential objects - one business entity and three

 individuals - of the verb “assign,” which does not constitute a

 “clear and unequivocal” assignment of the participant’s ERISA

 beneficiary status to Plaintiff individually.

      The Court does not agree.       The Plan participant agreed to

                                      9
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 10 of 21 PageID: 474



 “irrevocably assign to you, my medical provider, all of my

 rights and benefits” under the Plan.        Even though the heading of

 the document contains the practice’s name and lists three

 medical providers, there is no dispute that the participant’s

 medical provider was Plaintiff, who performed the participant’s

 surgery, and not one of the other two providers, or the practice

 itself.    Thus, we think it plain enough that “you” in the

 document is Plaintiff, to whom the participant assigned all of

 her rights and benefits under the Plan.         In other words, the

 assignment unambiguously means “I irrevocably assign to [Rahul

 Shah, M.D.], my medical provider, all of my rights and benefits”

 under the Plan. 7    The assignment is valid and therefore confers

 standing to Plaintiff to bring his claims against the Plan for

 violations of ERISA. 8     See, e.g., American Chiropractic Ass'n,


 7 This assignment also validly assigned to Plaintiff the
 participant’s rights and claims to file suit against the Plan
 under ERISA or other applicable laws. See American Chiropractic
 Ass'n, 625 F. App’x at 172.

 8 If Plaintiff’s practice, Premier Orthopaedic Associates of
 Southern New Jersey, filed suit under the assignment of
 benefits, it is questionable whether it would have standing.
 See, e.g., American Chiropractic Ass'n, 625 F. App’x at 176-77
 (explaining that because claims for monetary relief often
 require an individual inquiry, associations “generally” cannot
 sue for monetary damages, and finding even though the medical
 provider, an individual member, had standing because he sought
 monetary reimbursement for services he provided to plan-
 participant patients, the association had not shown that any of
 its members possessed standing to seek non-monetary relief, and
 thus the association lacked representational standing to sue the
 plan); see also Franco v. Connecticut General Life Ins. Co., 647
                                      10
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 11 of 21 PageID: 475



 625 F. App’x at 171-72 (finding that the following assignment

 afforded the medical provider, but not the practice, standing to

 sue his patients’ insurers for reimbursement for services he

 provided: “I authorize payment of medical benefits to High

 Street Rehabilitation, LLC for all services rendered. I

 understand that I am financially responsible for all charges

 whether or not they are paid by insurance (commercial, worker's

 compensation, auto, etc.).       In the event of an unpaid balance, I

 am aware that my bill will be sent to the collection agency and

 that I will be held responsible for any and all charges

 incurred, including attorney fees.”).

             2.    Whether the Plan abused its discretion in its
                   payment to Plaintiff

       Plaintiff - who stands in the shoes of his patient through

 an assignment of benefits - seeks benefits he claims he is owed

 under the Plan.     Plaintiff claims that Defendant violated its

 fiduciary duty by failing to pay him the benefits owed under the

 plan for nonparticipating, out-of-network providers such as

 himself.    These claims are governed by ERISA § 502(a)(1)(B),

 which allows a plan participant or beneficiary to bring a civil




 F. App’x 76, 82 (3d Cir. 2016) (“That the Provider Plaintiffs
 have standing to sue under ERISA does not mean that the
 Association Plaintiffs, i.e., the medical societies and
 associations whose members provide ONET services to CIGNA
 insureds, necessarily have standing to bring ERISA claims as
 well.”).
                                      11
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 12 of 21 PageID: 476



 action to, among other things, “recover benefits due to him

 under the terms of his plan,” 29 U.S.C. § 1132(a)(1)(B), and §

 404 of ERISA, which provides that a “fiduciary shall discharge

 his duties with respect to a plan solely in the interest of the

 participants and beneficiaries . . . [by] providing benefits to

 participants and their beneficiaries,” 29 U.S.C. § 1104.

       This Court’s standard of review for claims alleging

 violations of these provisions is an abuse of discretion.            See

 Fleisher v. Standard Ins. Co., 679 F.3d 116, 120 (3d Cir. 2012)

 (citations omitted) (explaining that when an ERISA plan grants

 its administrator discretionary authority, as in the case here,

 the deferential standard of review is appropriate, and an

 administrator’s decision is arbitrary and capricious if it is

 without reason, unsupported by substantial evidence or erroneous

 as a matter of law).      Thus, the issue to be decided is whether

 Defendant was arbitrary and capricious in its interpretation of

 the plan and resulting payment to Plaintiff.          The Court finds

 that Defendant did not abuse its discretion in this case.

       The Plan provides, in relevant part, the following

 regarding nonparticipating, out-of-network providers:

       Surgical services - surgery - out-of-network: Covered – 70%
       after deductible

 (Docket No. 19-2 at 25, Benefits Summary.)

       Nonparticipating Providers - Nonparticipating providers do
       not have signed agreements with Blue Cross Blue Shield.

                                      12
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 13 of 21 PageID: 477



       This means they may or may not choose to accept the
       approved amount as payment in full. If your present
       providers do not participate with Blue Cross Blue Shield,
       ask if they will accept the approved amount as payment in
       full for the services you need. This is called
       participating on a "per claim" basis and means that the
       providers will accept the approved amount as payment in
       full for the specific services on the claim. You are
       responsible for any deductibles, copayments, and/or
       coinsurances required by your plan along with charges for
       non-covered services. If a nonparticipating provider will
       not accept the approved amount as payment in full for
       covered services, you will be responsible for the
       difference between the approved amount and the provider’s
       charges in addition to any deductible, coinsurance and/or
       copayment required by your plan.

 (Docket No. 19-2 at 46, General Information for Blue Cross Blue

 Shield Medical, Selecting a Provider.)

       Charges to You When Nonparticipating Providers are Used -
       Nonparticipating providers may ask you to sign a form
       acknowledging that you are responsible for paying any
       amount they charge above the Blue Cross Blue Shield
       approved amount. Blue Cross Blue Shield does not require
       you to sign this form. By signing this form you agree to
       pay the difference between the approved amount and what the
       provider charges. The decision to sign or not is between
       you and your provider. However, even if you are not asked
       to sign the form, or you refuse when asked, the provider
       may still bill you for more than the BCBS approved amount.
       The responsibility for paying this difference is between
       you and the provider.

 (Id. at 47.)

       Approved Amount — The Blue Cross Blue Shield maximum
       payment level or the provider's billed charge for the
       covered service, whichever is lower. Deductibles,
       copayments, coinsurance and sanctions are deducted from the
       approved amount.

 (Docket No. 19-2 at 87, Plan Glossary.)

       Nonparticipating Providers — Providers that have not signed
       participation agreements with Blue Cross Blue Shield

                                      13
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 14 of 21 PageID: 478



       agreeing to accept the Blue Cross Blue Shield payment as
       payment in full. However, nonparticipating professional
       (non-facility) providers may agree to accept the Blue Cross
       Blue Shield approved amount as payment in full on a per
       claim basis.

 (Id. at 90.)

       Coverage Exclusions and Limitations - In addition to the
       exclusions and limitations listed elsewhere in this SPD
       booklet, unless otherwise stated, the following exclusions
       and limitations apply: . . . Charges from a
       nonparticipating provider that are in excess of the Blue
       Cross Blue Shield approved amount.

 (Id. at 73-74, Coverage Exclusions and Limitations.)

       In response to the participant’s appeal, Defendant

 explained:

       Your provider, Rahul Shah, M.D., is an out-of-network, non-
       participating provider. Because this provider does not
       participate with BCBS, they may choose not to accept the
       BCBS approved amount as payment in full. The approved
       amount for the surgical services you received from this
       provider on February 3, 2016 is $7,106.44. This claim was
       processed at the in-network benefit level. At the time
       this claim was processed, you had not reached your in-
       network out-of-pocket maximum, and therefore are
       responsible for 10 percent of the allowed amount ($710.64)
       as your in-network coinsurance requirement.

       The claim was submitted through the BlueCard program and
       sent to BCBSM for payment consideration. Because the claim
       was submitted through the BlueCard program, the host plan
       (Horizon BCBS of New Jersey) determines the allowed amount
       and payment policies associated with your claim.

       As such, the host plan determined that procedure codes
       63030 (laminotomy), 20936 (autograft for spine surgery
       only), 20930 (allograft for spine surgery only), and 77003
       (fluoroscopic guidance) are not payable for this claim.
       Additionally, procedure code 22851 (application of
       intervertebral biomechanical device(s)) was submitted twice
       on this claim, and therefore the host plan determined that
       only one of these services are payable.

                                      14
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 15 of 21 PageID: 479




       In the appeal letter Ms. Yesenia Torres requested
       additional documentation regarding the determination of the
       payment amount. Because your claim was processed through
       the BlueCard program, information regarding the allowed
       amount or payment policies used to calculate the payment
       determination for these services must be obtained from the
       host plan. In order to request additional documentation,
       including the documentation used in this appeal, please
       follow the instructions listed at the end of this letter. 9

 (Docket No. 15-8 at 2.)

       Defendant further explains in its motion that because

 Plaintiff had no provider agreements with either BCBSM or

 Horizon, for out-of-network pricing purposes BCBSM applied the

 out-of-network pricing which Horizon would have applied to each

 billed Current Procedure Terminology (“CPT”) code if the

 participant had been a Horizon member.         That pricing, in turn,

 derived from a multiple of the charge which the Centers for


 9 It appears that the reimbursement of benefits became more
 complex in this case because the participant accessed care out-
 of-state, which implicated the BlueCard program. The Plan
 explains:

       Like all Blue Cross and Blue Shield Licensees, BCBSM
       participates in a program called "BlueCard." Whenever
       Members access health care services outside the geographic
       area BCBSM serves, the claim for those services may be
       processed through BlueCard and presented to BCBSM for
       payment in conformity with network access rules of the
       BlueCard Policies then in effect (Policies). For more
       detail, refer to the Blue Cross Blue Shield contract by
       contacting the Kellogg People Services Center.

 (Docket No. 19-2 at 78.) It is not clear whether Plaintiff or
 his patient followed the procedure outlined in the Plan or the
 appeal denial letter to obtain more information from the host
 plan about its payment procedures and policies.
                                      15
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 16 of 21 PageID: 480



 Medicare and Medicaid (“CMS”) apply to those same codes.

 (Docket No. 15-2 at 5.)      Defendant further explains that

 Horizon’s out-of-network allowances for the billed CPT codes are

 based on 150% of the pricing applied by the Centers for Medicare

 and Medicaid Services.      (Docket No. 15-3 at 2.)      Defendants

 relate that Horizon transmitted this pricing information to

 BCBSM, but whether and to what extent Host Plan pricing is

 applied by the Home Plan is left to the discretion of the Home

 Plan.    (Id. at 3.)

        Plaintiff argues that the Plan provides for an out-of-

 network reimbursement rate of 70% of his charges, and he should

 be reimbursed accordingly.       He argues that the Plan must be

 interpreted this way because although the Plan provides

 reimbursement for out-of-network providers at 70% of approved

 charges, the Plan is silent as to what the “approved charges”

 are.    Plaintiff contends that the Plan violated ERISA because

 the rate he was paid was essentially a mystery until Defendant

 filed its motion for summary judgment.         Plaintiff points out

 that the Plan does not even mention the Medicare rates in the

 context of out-of-network providers, and such reimbursement rate

 was not explicitly set forth in the Summary Plan Description.

        The Court disagrees for several reasons.        First, even

 though Plaintiff is correct that the Plan does not explain how

 the “approved charges” are calculated, and the Plan could have

                                      16
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 17 of 21 PageID: 481



 expressly articulated the rate, he provides no proof to refute

 Defendant’s explanation of what the “approved charges” are.

 Plaintiff simply argues that his UCR charges should constitute

 the “approved charges” rather than Defendant’s CPT/Medicare

 rate.   The failure of the Plan to blindly accept Plaintiff’s

 definition of “approved charges” as its own does not necessarily

 constitute arbitrary and capricious conduct.

       Second, Plaintiff does not argue that the Plan did not pay

 him the precise amount according to the Plan’s articulated

 calculation.    It would be one thing if the Plan explained how it

 calculated its “approved charges” and then did not reimburse

 Plaintiff per that calculation.        But Plaintiff does not make

 such a claim here.

       Third, to the extent Plaintiff argues that the Plan terms

 are unfair and ambiguous, the claims before the Court do not

 require the assessment of the Plan participant’s interpretation

 of the Plan or her reliance on certain terms in the Plan.            That

 is a different case from the one pleaded here. 10         See CIGNA Corp.


 10Plaintiff has not asserted a claim of equitable reformation in
 his complaint, and there is no evidence in the record that the
 Plan participant relied upon the representations by the Plan
 regarding the payment of benefits to Plaintiff that would
 support Plaintiff’s contention that he was to be paid 70% of his
 charges. Additionally, Plaintiff has not pleaded a claim for
 violations of 29 U.S.C. §§ 1022(a), 1024(b) (ERISA §§ 102(a) and
 104(b)), which require a plan administrator to provide
 beneficiaries with summary plan descriptions and with summaries
 of material modifications, “written in a manner calculated to be
                                      17
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 18 of 21 PageID: 482



 v. Amara, 563 U.S. 421, 435–36 (2011) (finding that §

 502(a)(1)(B) only grants a court the power to enforce the terms

 of the plan, not change the terms of the plan); id. at 443

 (finding that when a court exercises its authority under §

 502(a)(3) to impose a remedy equivalent to estoppel, including

 reformation, a showing of detrimental reliance must be made).

       As set forth above, the SPD repeatedly cautions Plaintiff’s

 patient that choosing an out-of-network, nonparticipating

 provider may result in financial obligations not covered by the

 Plan.   By asking Plaintiff to assign her benefits under the Plan

 to him, he knowingly assumed the benefits available to him under

 the Plan.    The Plan cannot be faulted for Plaintiff’s failure to

 determine his reimbursement rate prior to the assignment of

 benefits and the surgery on his patient. 11

       As this Court noted in a similar case involving the same

 Plaintiff, when Plaintiff’s patient first consulted Plaintiff

 about his services, he had several options:          (1) he could have

 set what he perceived as the market rate for his services and




 understood by the average plan participant,” that are
 “sufficiently accurate and comprehensive to reasonably apprise
 such participants and beneficiaries of their rights and
 obligations under the plan.”

 11The fact that the participant’s out-of-state surgery required
 the special “BlueCard” procedure would further counsel a
 provider to pre-determine the expected reimbursement for his
 medical services.
                                      18
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 19 of 21 PageID: 483



 conditioned providing his services on the payment of that fee,

 leaving to the patient reimbursement under applicable insurance,

 or (2) he could have agreed to accept his patient’s insurance

 and the benefit it provided and billed his patient for the

 remaining balance.     Rahul Shah v. Horizon Blue Cross Blue Shield

 of New Jersey, 2018 WL 1509087, at *5 (D.N.J. 2018).           “What he

 could not do was accept the benefit under the Plan, take an

 assignment from [his patient],” and “through this lawsuit seek

 to blow up – without legal or factual support - the carefully

 and clearly drafted mutually beneficial agreement [between

 employer and employee].”      Id.

       As in his other case, Plaintiff here seeks from the Plan

 the full reimbursement of his charges at a rate he unilaterally

 set, while ignoring his own duplicative charges and any of his

 patient’s financial obligations under the Plan, simply because

 he thinks he is entitled to that amount of his services.            He

 cites no provision in the Plan that entitles him to UCR rates,

 much less the 100% of such rates his Complaint demands 12 and


 12In his complaint, Plaintiff has demanded the Plan pay him the
 balance of the full sum of his charges. This contradicts
 Plaintiff’s own interpretation of the Plan. Plaintiff’s
 opposition brief acknowledges his patient’s own obligations,
 such as deductibles and co-insurance, which would reduce the
 reimbursement of his total charges from Defendant off the top.
 Moreover, he contends that the Plan language mandates
 reimbursement of 70% - not 100% - of his charges, and nowhere in
 his opposition brief does Plaintiff argue he is entitled to 100%
 of his charges. Additionally, Plaintiff does not appear to
                                      19
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 20 of 21 PageID: 484



 offers no evidence that anyone actually pays him such rates for

 his services.     Nothing in ERISA allows a medical provider who

 voluntarily accepts a patient’s health insurance to determine on

 his own what benefits an employer should provide for its

 employee.

       The Court recognizes that this case differs from the Rahul

 Shah v. Horizon Blue Cross Blue Shield of New Jersey, matter in

 that the plan at issue there made clear the application of a fee

 formulation that hinged on the Medicare rate.          2018 WL 1509087,

 at *4.   And there should be no doubt it would have benefited

 everyone with a stake in this matter if the Plan at issue here

 had been more explicit in the method employed to calculate how

 out-of-network providers were compensated.         However, as we have

 noted this Court does not sit to reform or renegotiate the terms

 of the Plan.    CIGNA Corp. v. Amara, 563 U.S. 421, 435–36 (2011).

       Rather, the Court sits to determine whether the Plan acted

 in an arbitrary and capricious manner.         Nothing Plaintiff has

 offered, or this Court is aware of, suggests that Defendant’s

 use of a “70% of 150% of the Medicare rate” formulation violated



 challenge the denial of certain charges because they were not
 covered under the Plan or were submitted twice, which also
 reduces Plaintiff’s overall recovery even before the “approved
 charges” calculation is performed. In short, there appears to
 be no factual or legal justification for the Complaint’s demand
 for the full sum of his charges. Plaintiff and his counsel are
 on notice of their obligation to abide by Fed. R. Civ. P. 11 in
 all respects.
                                      20
Case 1:17-cv-00711-NLH-AMD Document 24 Filed 05/10/18 Page 21 of 21 PageID: 485



 the express terms of the Plan, the implicit terms of the Plan,

 ERISA itself, or customary practices and standards in the health

 insurance industry.      It is certainly less than what Plaintiff

 asserts as the value of his services.         But has we have noted,

 Plaintiff was free to make that determination, or assume such

 risks, when he decided to treat the patient/assignor.           There is

 simply nothing in the Plan to show that Plaintiff’s calculation

 of the value of his services is the benefit his assignor

 bargained for or his assignor’s employer agreed to pay.

                                 CONCLUSION

       For the reasons expressed above, Defendant has established

 that the Plan did not abuse its discretion when it paid

 Plaintiff for his surgical services as an out-of-network,

 nonparticipating provider.       Consequently, Defendant is entitled

 to judgment in its favor on all of Plaintiff’s claims.

       An appropriate Order will be entered.



 Date: May 10, 2018                          s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




                                      21
